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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                            Before the Honorable Kirtan Khalsa
                                                      Initial Appearance
Case Number:                19cr3333 WJ                           UNITED STATES vs. Torres
Hearing Date:               10/28/2019                            Time In and Out:          9:39-9:42 & 9:53-9:56
Courtroom Deputy:           E. Hernandez                          Courtroom:                Rio Grande
                                                                                            Margaret Katze for initial
Defendant:                  Malcolm Torres                        Defendant’s Counsel:
                                                                                            purposes only
                            David Cowen and
AUSA:                                                             Pretrial/Probation:       D. Ramos
                            Holland Kastrin
Interpreter:                N/A                                   Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant wants Court appointed counsel
☒     Government moves to detain                                  ☐ Government does not recommend detention
☒     Set for Arraignment/Detention Hearing                       on Tuesday, October 29, 2019     @ 9:30
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
      Defendant remanded to custody of United States
☒     Marshal's Service
☐     Conditions
Other
☐     Matter referred to    for Final Revocation Hearing
☐
